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 6                            UNITED STATES DISTRICT COURT
 7                                 DISTRICT OF NEVADA
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 9   RONALD O’NEAL CALVIN,
10           Petitioner,                                 Case No. 3:08-CV-00033-LRH-(RAM)
11   vs.                                                 ORDER
12   E. K. MCDANIELS, et al.,
13           Respondents.
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15           Petitioner has submitted a letter (#6), in which he asks for additional time to pay the filing
16   fee. The Court grants his request.
17           IT IS THEREFORE ORDERED that Petitioner’s request for an extension of time (#6) is
18   GRANTED. Petitioner shall have thirty (30) days from the date on which this Order is entered to
19   pay the filing fee.
20           DATED this 11th day of April, 2008.
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22                                                                 _________________________________
                                                                    LARRY R. HICKS
23                                                                  UNITED STATES DISTRICT JUDGE
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